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                                                                                                                     JS-6
                                  1                                 UNITED STATES DISTRICT COURT
                                  2                                CENTRAL DISTRICT OF CALIFORNIA

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                                  5       Tracy Eggleston,
                                                                                 2:19-cv-10071-VAP-RAO
                                  6                       Plaintiff,
                                  7                      v.
                                                                                      Order DENYING Plaintiff’s
                                                                                   Motion for Second Extension
                                  8       Direct Protect Security and              of Time to Effectuate Service
                                  9          Surveillance, Inc.,
                                                                                             of Process
                                                                                            (Doc. No. 21).
                                 10                       Defendant.
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                                            Before the Court is Plaintiff Tracy Eggleston’s Motion for Second
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                                      Extension of Time to Effectuate Service of Process, (“Motion,” Doc. No. 21),
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                                      filed on April 15, 2020. The Court finds the matter suitable for decision
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                                      without a hearing pursuant to Local Rule 7-15. After considering all papers
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                                      filed in support of the Motion, the Court DENIES the Motion.
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                                                         I.    PROCEDURAL BACKGROUND
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                                            On January 20, 2020, Plaintiff filed a Motion for Alternative Service.
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                                      (Doc. No. 16). Plaintiff failed to demonstrate reasonable diligence in
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                                      effectuating service and the Court accordingly denied the Motion for
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                                      Alternative Service. (Doc. No. 18). Plaintiff then filed a Motion for Extension
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                                      of Time to Effectuate Service of Process (Doc. No. 19), which the Court
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                                      granted. In the Order, the Court granted an extension of thirty (30) days and
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                                  1   stated that no further extensions would be granted. (Doc. No. 21). Plaintiff
                                  2   now seeks an additional extension of sixty (60) days to effectuate service.
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                                  4                            II.          LEGAL STANDARD
                                  5         Fed. R. Civ. P. 4(m) sets forth a two-step analysis to determine
                                  6   whether to extend the prescribed time period for the service of a complaint.
                                  7   In re Sheehan, 253 F.3d 507, 512 (9th Cir. 2001) (citing Fed. R. Civ. P.
                                  8   4(m)). First, upon a showing of good cause for defective service, courts
                                  9   must extend the time period. Id. Second, absent good cause, courts have
                                 10   broad discretion to dismiss without prejudice or to extend the time period
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                                 11   upon a showing of excusable neglect. Efaw v. Williams, 473 F.3d 1038,
                                 12   1041 (9th Cir. 2007); see also Lemoge v. U.S., 587 F.3d 1188, 1198 (9th Cir.
                                 13   2009).
                                 14
                                 15                                  III.     DISCUSSION
                                 16         As noted above, plaintiffs may receive extensions of time to effect
                                 17   service if there is good cause or courts exercise their discretion to grant
                                 18   extensions upon a showing of excusable neglect. Here, the Court finds
                                 19   Plaintiff failed to demonstrate good cause.
                                 20
                                 21    A. GOOD CAUSE
                                 22         The good cause inquiry focuses on whether the plaintiff has been
                                 23   diligent in attempts to effect service. Blankenship v. Account Recovery
                                 24   Serv., Inc., No. 15-CV-2551-BTM-JLB, 2017 WL 1653159, at *2 (S.D. Cal.
                                 25   May 2, 2017). In this inquiry, courts may consider the following factors: “(a)
                                 26   the party to be served received actual notice of the lawsuit; (b) the

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                                  1   defendant would suffer no prejudice; and (c) plaintiff would be severely
                                  2   prejudiced if his complaint were dismissed.” In re Sheehan, 253 F.3d at 512
                                  3   (quoting Boudette v. Barnette, 923 F.2d 754, 756 (9th Cir.1991)). The
                                  4   plaintiff bears the burden to show “good cause” for the delay in service. See
                                  5   Lemoge, 587 F.3d at 1198.
                                  6
                                  7         Plaintiff asserts that she “has diligently worked to effectuate service”
                                  8   but the ongoing COVID 19 pandemic has frustrated her efforts. (Mot. 3-4).
                                  9   Plaintiff concedes that Defendant did not receive actual notice of this
                                 10   lawsuit, but argues that Defendant would not be prejudiced because
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                                 11   Defendant evaded service and the statute of limitations has not run on
                                 12   Plaintiff’s claims. (Mot. 7). Plaintiff reasons that since the statute of
                                 13   limitations has not run, a dismissal of her Complaint would result in her re-
                                 14   filing the claims. (Id.) Plaintiff argues that this re-filing constitutes the
                                 15   severe prejudice she would suffer if her Complaint were dismissed. (Id.)
                                 16
                                 17         These arguments are unpersuasive. Nothing in the record shows that
                                 18   Plaintiff made attempts to verify or investigate Defendant’s address, such as
                                 19   hiring a private investigator, consulting relatives, friends, neighbors, or even
                                 20   attempting to find an email address. See THC-Orange Cty. Inc. v. Valdez,
                                 21   No. 17-CV-01911-LB, 2017 WL 2171185, at *3 (N.D. Cal. May 17, 2017);
                                 22   see also Facebook, Inc. v. Banana Ads, LLC, No. C-11-3619 YGR, 2012
                                 23   WL 1038752, at *3 (N.D. Cal. Mar. 27, 2012). The Court addresses three
                                 24   points Plaintiff raises in her Motion.
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                                  1          First, in her previous Motion for Extension of Time to Effectuate
                                  2   Service of Process, Plaintiff stated that if granted the extension, she would
                                  3   “attempt to locate and serve Defendant’s second Director, James Melad.”
                                  4   (Mot. 5, Doc. No. 19). Based on the record, Plaintiff did not engage in
                                  5   efforts to find the current address for this director. According to Plaintiff, she
                                  6   attempted to serve him once at an address he has not resided at for three
                                  7   years. (Mot. 4).
                                  8
                                  9          Second, Plaintiff asserts that she attempted service five times via
                                 10   process server at Defendant’s last known business address, even though it
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                                 11   appeared that “no functioning business was present at this address.” (Mot.
                                 12   6). Again, nothing in the record indicates Plaintiff attempted to find a valid
                                 13   address for Defendant or its director(s).
                                 14
                                 15          Third, Plaintiff arranged for the Orange County Sheriff Department
                                 16   (OCSD) to serve Defendant’s registered agent at his registered address.
                                 17   (Mot. 3, 6). However, due to COVID 19 restrictions, OCSD is not attempting
                                 18   any civil service and it is unclear when it will resume those services. (Mot.
                                 19   6). Nonetheless, Plaintiff asserts that “additional time is necessary given
                                 20   that the OCSD is uncertain as to when the department will resume civil
                                 21   service operations.” (Mot. 7). Despite this, nothing in the record indicates
                                 22   that Plaintiff engaged in any of the other methods the California Code of
                                 23   Civil Procedure permits. Further, Plaintiff argues that “service via a private
                                 24   process server would likely prove futile.”1 (Mot. 6).
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                                          Presumably, Plaintiff’s argument is based on the unsuccessful attempts to
                                 26      effect service upon the registered agent in December 2019. (Mot. 3, Doc.
                                         No. 16). It is unclear whether Plaintiff has attempted to effect service upon
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                                  2         It is now well beyond the ninety (90) day period prescribed under Fed.
                                  3   R. Civ. P. 4, and the Court does not find good cause to allow Plaintiff a
                                  4   second extension.
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                                  6    B. EXCUSABLE NEGLECT
                                  7         To determine if there is “excusable neglect,” courts consider “at least
                                  8   four factors: (1) the danger of prejudice to the opposing party; (2) the length
                                  9   of the delay and its potential impact on the proceedings; (3) the reason for
                                 10   the delay; and (4) whether the movant acted in good faith.” Lemoge, 587
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                                 11   F.3d at 1192 (quoting Bateman v. U.S. Postal Servs., 231 F.3d 1220, 1223–
                                 12   24 (9th Cir. 2000)).
                                 13
                                 14         The Court recognizes the novelty of the current COVID 19 pandemic,
                                 15   but it does not appear to be the sole reason for Plaintiff’s unsuccessful
                                 16   service attempts. Plaintiff is not arguing that she needs the additional time
                                 17   to verify current addresses or serve a different director, as she stated in her
                                 18   first request. Instead the basis for Plaintiff’s request for a second extension
                                 19   is OCSD’s civil service suspension. Plaintiff contends that the uncertainty in
                                 20   when OCSD will resume its services warrants an extension, but it is unclear
                                 21   whether OCSD will even resume services within the requested sixty (60)
                                 22   days. Considering Plaintiff failed to demonstrate efforts to verify valid
                                 23   addresses for Defendant and its director(s), granting Plaintiff a second
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                                         the registered agent since then or since the Court granted Plaintiff’s previ-
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                                         ous request for a time extension.
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                                  1   extension to wait for OCSD to resume its service at a later, unknown date
                                  2   would unnecessarily prolong the proceedings.
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                                  4                               IV.   CONCLUSION
                                  5         The Court therefore DENIES Plaintiff’s Motion for Second Extension
                                  6   of Time to Effectuate Service of Process. Accordingly, this action is
                                  7   dismissed for failure to prosecute pursuant to Fed. R. Civ. Proc. 4.
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                                  9   IT IS SO ORDERED.
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                                          Dated:     5/22/20
                                 12                                                     Virginia A. Phillips
                                 13                                              Chief United States District Judge

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